Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 1 of 29

[UNDER SEAL],

Vv.

[UNDER SEAL],

UNITED STATES DISTRICT COURT

Plaintiffs,

Defendant.

 

 

FOR THE DISTRICT OF MARYLAND

Case No:
COMPLAINT

FILED IN CAMERA AND UNDER SEAL
PURSUANT TO 31 U.S.C. § 3730(b)(2)

DOCUMENT TO BE KEPT UNDER SEAL

DO NOT ENTER INTO PACER
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 2 of 29

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

 

 

UNITED STATES, ex rel. DONNA Case No:
HECKER-GROSS,
Plaintiff,
COMPLAINT
Vv.
FILED IN CAMERA AND UNDER
LABORATORY CORPORATION OF SEAL PURSUANT TO 31 U.S.C. §
AMERICA, INC 3730(b)(2)
Defendant.
JURY TRIAL DEMANDED

Plaintiff-Relator Donna Hecker-Gross (“Relator”), through her attorneys, on behalf of the
United States of America (the “Government”), for her Complaint against Defendant Laboratory
Corporation of America, Inc. (“Defendant” or “LabCorp”), alleges, based upon personal
knowledge, relevant documents, and information and belief, as follows:
I. INTRODUCTION

1. This is an action to recover damages and civil penalties on behalf of the United
States of America for Defendant’s violations of the federal False Claims Act, 31 U.S.C. § 3729,

et seq. (the “FCA”).

2. This case concerns LabCorp’s knowing failure to return overpayments to the
Government.
3. Pursuant to a multi-year, worldwide contract with the Department of Defense

(“DOD”), LabCorp provides reference-testing services at military treatment facilities across the
United States and abroad.

4, LabCorp refers to third-party providers tests it does not perform itself. Under
LabCorp’s DOD contract, when the company refers a test to another laboratory, LabCorp pays

-l-
COMPLAINT

 
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 3 of 29

the third party and then charges DOD the cost of the test plus a small fixed fee.

5. In 2017, staff at Walter Reed National Military Medical Center (“Walter Reed”)
questioned LabCorp about charges for a several-thousand-dollar test that LabCorp referred to a
third party. The test identifies genetic abnormalities in children and fetuses. The test analyzes
DNA samples from the child or fetus and one or both biological parents. Although the third-
party lab runs two or three analyses, depending on whether it samples one or both parents’ genes,
the third-party provider charges only for the report ultimately generated for the child or fetus.
LabCorp, in turn, only pays the provider for one test.

6. LabCorp should therefore only charge DOD for the single test plus the small fixed
fee.

7. Staff at Walter Reed noticed that LabCorp was charging the military facility for
the parental samples in addition to the child’s or fetus’s report. The staff members challenged
LabCorp employees other than Relator on multiple occasions about the propriety of this billing.
LabCorp employees insisted the company had appropriately billed for the test, even though those
employees did not review the billing procedures of the third party. Not until Walter Reed staff
asked Relator about the suspected overbilling did LabCorp investigate the staffs’ concerns.

8. After Relator requested confirmation of the third-party provider’s billing
practices, LabCorp discovered that it had been improperly double or triple billing Walter Reed
for the test by charging for each sample analyzed, rather than only for the child’s or fetus’s
report. LabCorp therefore had been charging the Government two or three times what it paid for
the test, pocketing the difference in violation of its contract with DOD.

9, LabCorp, however, only conducted a limited investigation that failed to uncover
the full size and scope of the problem. The company only reviewed billing records for tests
performed at Walter Reed between March 2016 and July 2017, even though it had been

performing the tests for years and even though the test had been performed at military treatment

as
COMPLAINT
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 4 of 29

facilities nation- and worldwide and for other Government payers.

10... Not only did LabCorp knowingly choose to conduct an improperly narrow
investigation to avoid discovering the full extent of the overbilling that had occurred, it also
knowingly failed to repay some of those overpayments it actually identified in a conscious effort
to retain known overpayments by the Government that its past overcharges had caused. Instead
of paying even all of the specific overcharges its limited review had uncovered, LabCorp only
offered Walter Reed a credit for double or triple billed tests dating back to January 2017, with a
promise to correct the billing issue going forward. This was so even though, at the time it
offered that reimbursement to Walter Reed, LabCorp had already identified over $100,000 in
additional inappropriate billings between March 2016 and January 2017 that it knowingly and
purposefully kept from Walter Reed and retained. Moreover, having discovered the nature of the
error that caused the overcharges to Walter Reed, LabCorp also chose to turn a blind eye to
similar overcharges that would have affected other claims of the same nature made at other DOD
facilities and/or under similar contracts affecting other Government payers.

11. Relator protested and insisted that LabCorp had a duty to properly bill DOD
military treatment facilities under its contract and to repay all overcharges that had resulted from
the past pattern of billing errors that LabCorp had discovered, both with respect to Walter Reed
and, by implication based on the global nature of the discovered error, with any other similarly
affected DOD (or other Government) accounts. To prevent Relator from exposing its cover up,
Relator’s supervisor ordered her not to visit Walter Reed as she usually did and forbid her from
speaking with any staff at the facility. A few days after she protested, LabCorp fired Relator on
pretext.

12. Through this action, Relator seeks to require LabCorp to adhere to its obligations
under its contract and its general obligation not to overcharge the United States military.

13. This is also an action by Relator to recover damages for her retaliatory discharge

-3-
COMPLAINT

 
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 5 of 29

and for other retaliatory actions by Defendants. During her tenure at LabCorp, Relator
investigated, reported, and objected to Defendants’ fraudulent conduct that violated the FCA.
Relator repeatedly complained about these matters to her immediate supervisors. Defendant
retaliated against Relator by terminating her employment on August 8, 2017. Through its
retaliatory actions, Defendant violated the FCA’s anti-retaliation provision, 31 U.S.C. § 3730(h).
Il. PARTIES

14. Defendant LabCorp is a Delaware corporation that operates clinical laboratory
facilities throughout the United States. The company’s headquarters are in Burlington, North
Carolina, and it operates numerous facilities in Maryland.

15. Qui Tam Plaintiff/Relator Donna Hecker-Gross is a Maryland resident. She was
formerly employed by LabCorp until her retaliatory dismissal on August 8, 2017.

Wl. JURISDICTION AND VENUE

16. This Court has jurisdiction over the subject matter of this action pursuant to 28
USS.C. § 1331 and 31 U.S.C. § 3732, the latter of which specifically confers jurisdiction on this
Court for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730.

17. This Court has personal jurisdiction over Defendant pursuant to 31 U.S.C. §
3732(a) because that section authorizes nationwide service of process and because Defendant has
minimum contacts with the United States. Moreover, Defendant can be found in and/or transacts
or has transacted business related to the allegations made in this Complaint in the District of
Maryland.

18. Venue is proper in the District of Maryland pursuant to 28 U.S.C. § 1391(b), 28
U.S.C. § 1395(a), and 31 U.S.C. § 3732(a) because Defendant can be found in, and/or transacts
or has transacted business in, this District. At all times relevant to this Complaint, Defendant
regularly conducted, and continues to conduct, substantial business within this District, and/or

maintained employees and offices in this District.

-4-
COMPLAINT
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 6 of 29

IV. APPLICABLE LAW

A. The False Claims Act

19. Congress originally enacted the FCA during the Civil War and substantially
amended the Act in 1986, in 2009, and 2010, each time to clarify the remedial purposes of the
Act and/or to enhance the ability of the United States to recover losses sustained through fraud
against it. Congress has characterized the Act as the primary tool for combating fraud against
the government, needed modernization. The FCA provides incentives for individuals with
knowledge of fraud against the government to disclose the information without fear of reprisals
or government inaction and encourages the private bar to commit legal resources to prosecuting
fraud on the government’s behalf.

20. | The FCA prohibits, among other things, knowingly making, using, or causing to
be made or used any false record or statement material to an obligation to pay or transmit money
or property to the Government, or knowingly concealing or knowingly and improperly avoiding
or decreasing an obligation to pay or transmit money or property to the Government. 31 U.S.C.
§ 3729(a)(1)(G). Any person who violates the FCA is liable for a civil penalty for each
violation, plus three times the amount of the damages sustained by the United States. 31 U.S.C.
§ 3729(a)(1).

21. For purposes of the FCA, a person “knows” a claim or statement is false if that
person: “(i) has actual knowledge of [the falsity of] the information; (ii) acts in deliberate
ignorance of the truth or falsity of the information; or (iii) acts in reckless disregard of the truth
or falsity of the information.” 31 U.S.C. § 3729(b)(1). The FCA does not require proof that a
defendant specifically intended to commit fraud. Jd.

22. Any person with information about an FCA violation may act as a relator, may
bring a qui tam action on behalf of the United States, and may share in any recovery. The FCA

requires that the gui tam complaint be filed under seal for a minimum of 60 days (without service

-5-
COMPLAINT
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 7 of 29

on the defendant during that time) to allow the government time to conduct its own investigation
and to determine whether to join the suit.
V. BACKGROUND

A. The Defense Health Agency

23. The Defense Health Agency under the DOD supports the Army, Navy, and Air
Force medical services. It also oversees a group of facilities around Washington, DC through the
National Capital Region (“NCR”) Medical Directorate. Walter Reed operates under the NCR
Medical Directorate.

B. Military Health System Treatment Facilities

24. The Military Health System (“MHS”) within the Department of Defense provides
health care to active duty and retired military personnel and their dependents.

25. As of 2018, the MHS operates several large medical centers, over 50 hospitals,
and hundreds of clinics around the world.

26. Walter Reed is a military treatment facility.

Cc. TRICARE / CHAMPUS

27. The Defense Health Agency administers CHAMPUS, commonly known as
TRICARE, a federally funded program that provides medical benefits to active duty members of
the military and their dependents, as well as to retirees. See 10 U.S.C. §§ 1071-1110b.
Dependents include spouses and minor children. Jd. § 1072(2).

28. | TRICARE covers services at both military treatment facilities and non-military
facilities.

29, TRICARE covers a portion of laboratory testing services. See 32 C.F.R. § 199.4,

30. TRICARE also pays for “[dJiagnostic tests and services, including laboratory”

testing services for dependents. 10 U.S.C. § 1077(a)(9).

-6-
COMPLAINT
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 8 of 29

VI. FACTUAL ALLEGATIONS
A. LabCorp has a worldwide contract with the Department of Defense to
provide laboratory testing services, including tests referred to third-party
laboratories.

31. In or about June 2012, LabCorp entered into a worldwide contract, W81K04-12-
D-0017, to provide reference testing services for the Department of Defense.

32. DOD renewed the contract in 2013, 2014, 2015, 2016, and 2017.

33. The contract remains in effect.

34. LabCorp has provided reference-testing services to military treatment facilities
worldwide since the contract’s inception.

35. This contract includes reference-testing services at Walter Reed.

36. Although LabCorp performs most reference testing at its own laboratory, it
contracts with third party providers for tests that it does not perform itself.

37. Under the contract, when LabCorp refers tests to a third-party provider, it must
pay the third-party provider directly and request reimbursement from military treatment facilities
only for the actual cost LabCorp paid to that provider, plus a small fixed fee.

38. On information and belief, TRICARE ultimately pays some of the costs for these
reference-testing services.

39, On information and belief, the remainder of these costs are covered by other parts
of DOD’s budget.

B. LabCorp referred the Trio/XomeDX Test to a third-party provider, GeneDx.

40. One of LabCorp’s third-party providers is GeneDx, a genetic testing company that
specializes in tests for rare and ultra-rare genetic disorders.

4l. Among other offerings, GeneDx performs the XomeDX, XomeDxPlus, and

XomeDX Trio (collective, “Trio/XomeDX testing”). These tests use exome (part of the human

-7-
COMPLAINT
Case 8:18-cv-03459-PX Document 1 Filed 11/08/18 Page 9 of 29

genome) sequencing to screen for genetic disorders, including genetic disorders in children and
fetuses.

42, Although physicians perform these tests on DNA from a child or fetus suspected
to have a genetic disorder, the tests are more accurate when samples from one or both biological
parents are also analyzed and compared against the child’s results.

43. Thus, even though a provider may request only one report—for the child or
fetus—they also pull samples from one or both parents, and GeneDx analyzes both or all three
exomes.

44. However, GeneDx only bills for the single report generated for the child or fetus.

45. The test costs between approximately $5,000 and $10,000.

Cc. Relator discovered overpayments related to the Trio/XomeDX Test and

attempted to correct those overpayments.

46. Lt. Sascha Jung is the former Chief of Patient & Provider Services of the
Department of Pathology at Walter Reed. He was replaced by Cpt. Julian Alexander in mid-
2017.

47. Walter Reed’s Department of Pathology refers testing to LabCorp under the
contract described above.

48. Onor about July 17, 2017, as part of their transition of responsibilities, Lt. Jung
and Cpt. Alexander reviewed LabCorp’s billing records with respect to Trio/XomeDX testing
with Sureia Ahmed, LabCorp’s Hospital Key Account Executive responsible for Walter Reed.
The review took place in person at Walter Reed.

49. —_ Lt. Jung and Cpt. Alexander raised concerns that LabCorp had been double or
triple billing for that testing. Specifically, Lt. Jung asked whether LabCorp was inappropriately
charging separately for tests on parental samples when those tests were included in the charge for

the child’s or fetus’s test.

siRis
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 10 of 29

50. Lt. Jung noted that he had raised this issue with Ms. Ahmed’s predecessor, Jill
Elliott, and had never received an adequate response from LabCorp.

51. Ms. Ahmed told Lt. Jung and Cpt. Alexander that she would review their
concerns with her manager, Betsy Lewis, an Associate Vice President of Business Development
and Regional Manager of Business Development at LabCorp.

52. Ms. Ahmed stepped out of her meeting with Lt. Jung and Cpt. Alexander and
called Ms. Lewis to discuss the overbilling issue.

53. | Without performing an investigation of the issue, Ms. Lewis told Ms. Ahmed that
LabCorp was billing correctly.

54. Ms. Ahmed returned to the meeting and told Lt. Jung and Cpt. Alexander that
LabCorp was properly billing Walter Reed for the Trio/XomeDX< tests.

55. On July 18, 2017, Lt. Jung approached Relator while she was on site at Walter
Reed for one of her regular visits. Lt. Jung told Relator it was urgent that they speak. Before
Relator left Walter Reed that day, she met with Lt. Jung and Cpt. Alexander to discuss
LabCorp’s billing practices for Trio/XomeDX testing.

56. Lt. Jung and Cpt. Alexander told Relator that they believed LabCorp was
inappropriately billing for GeneDx tests on parental samples that should have been included in
the charge for the tests on the child or fetus.

57. Lt. Jung also told Relator that he had brought this issue up with both Ms. Ahmed
and Ms. Elliott before her, and neither had adequately addressed Lt. Jung’s concerns.

58. Lt. Jung stated that other military treatment facilities in the National Capital
Region, including Fort Belvoir Community Hospital and Malcom Grow Medical Clinic, had
expressed similar concerns.

59. Relator requested that either Lt. Jung or Cpt. Alexander email her so she could

escalate their concerns to her superiors within LabCorp. Relator realized the potential

-9-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 11 of 29

significance of the issue and wanted to have documentation to support her request for an
investigation.

60. Later that morning, Cpt. Alexander emailed Relator, memorializing her concerns.
She also identified nine spectmen numbers that she thought LabCorp had inappropriately billed.

61. Shortly thereafter, Relator called Ms. Ahmed to discuss Cpt. Alexander and Lt.
Jung’s concerns regarding possible overbilling.

62. Ms. Ahmed confirmed that she had spoken with Lt. Jung and Cpt. Alexander the
previous day. She also confirmed that Ms. Lewis said LabCorp was properly billing Walter
Reed for the tests, and that Ms. Lewis had instructed Ms. Ahmed to relay that information to Lt.
Jung and Cpt. Alexander.

63. Relator then contacted Ms. Lewis by phone regarding LabCorp’s billing for the
Trio/XomeDX testing. Ms. Lewis expressed surprise that Relator was investigating the
overpayment concerns after Ms. Lewis had already spoken with Ms. Ahmed about the issue.
Ms. Lewis reiterated that LabCorp was properly billing for the testing—again without having
conducted any investigation.

64. Relator responded that LabCorp at least had to look into the matter further for the
patients that Lt. Jung and Cpt. Alexander had specifically identified.

65. After her call with Ms. Lewis, Relator continued her investigation. To confirm
that LabCorp was properly billing for the expensive Trio/XomeDX testing, she reached out to
LabCorp’s Hospital Services department. The manager of Hospital Services responsible for
Walter Reed told Relator that the issue was beyond their investigative capabilities, and the
inquiry should be directed to Valerie Howard, Director CET Hospital Services & Referrals at
LabCorp’s central office in Burlington, NC.

66. On July 19, 2017, Relator emailed Ms. Howard as instructed by Hospital

Services. Relator forwarded the email she had received from Cpt. Alexander to Ms. Howard and

-10-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 12 of 29

summarized Cpt. Alexander’s concerns, which related both to the billing issues and to separate
concerns regarding LabCorp’s mishandling of lab test requests and samples.

67. With respect to the billing, Relator specifically noted that Cpt. Alexander believed
that even though parent and child or fetus samples were tested, GeneDx only charged LabCorp
for a single report. Relator asked Ms. Howard to confirm whether that understanding was
correct.

68. Later that evening, Ms. Howard replied that she had “not heard that GeneDx bills
in the way you describe nor does any of the literature I reviewed on their website indicate that
they bill in that manner.” Ms. Howard included Donna Hauser, the manager for Referral Testing
at LabCorp, on the email and asked Ms. Hauser to investigate the issue.

69. _ Relator replied late that evening, stating that she also believed the independent
charges for the parental and child or fetus tests were appropriate. She explained that she wanted
to confirm her understanding because she was “not comfortable with the response provided,”
referring to the information she had received from Ms. Lewis and Ms. Howard, and saying she
needed a “complete” response before reporting back to Walter Reed.

70. Ms. Lewis, who was copied on Relator’s emails, chastised her for contacting Ms.
Howard directly about the issue.

71. On July 20, 2017, Relator spoke with Cpt. Alexander by phone. Cpt. Alexander
again raised concerns with a heightened level of urgency regarding GeneDx testing and
requested an audit of LabCorp’s June 2017 GeneDx billing.

72. Later that day, Relator sent a follow-up email to Ms. Hauser, copying Ms. Lewis
and several other LabCorp employees, conveying a list of questions that Cpt. Alexander had
asked about the GeneDx billing. She also reiterated Cpt. Alexander’s request for an audit.

73. Cpt. Alexander called Relator that evening to ask whether Relator had concluded

her research on the billing issue. Relator told Cpt. Alexander that she had escalated the issue to

-11-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 13 of 29

LabCorp’s corporate headquarters and she would inform Cpt. Alexander as soon as she knew the
answer.

74. Relator then followed up with Ms. Lewis by phone to let her know that Cpt.
Alexander had contacted her after working hours and was aggressively trying to resolve the
potential overbilling and clinical issues. Relator stressed that LabCorp needed to address the
issue promptly.

75. Ms. Lewis stated that she would follow up with LabCorp’s corporate headquarters
and get back to Relator.

76. Cpt. Alexander contacted Relator by phone several times between July 20, 2017
and July 24, 2017, requesting answers about the suspected overbilling. Relator repeatedly told
Cpt. Alexander she was researching the issues and working to escalate them within LabCorp.

77. On July 24, 2017, Relator sent another email to Ms. Hauser, with Ms. Howard,
Ms. Lewis, and Ms. Ahmed included, requesting an update on Ms. Hauser’s investigation of the
billing issue.

78. Noone replied to that email.

79. Separately, Ms. Hauser continued to investigate. That same day, Ms. Hauser sent
an email to LabCorp’s Burlington, North Carolina referrals department, forwarding Cpt.
Alexander’s concerns as relayed by Relator.

80. The following morning of July 25, 2017, Nikki Capps at LabCorp sent an email to
Michelle Carangi, Senior Lead, GeneDx Customer Service Representative, forwarding the email
from Ms. Hauser containing Cpt. Alexander’s concerns. Ms. Capps asked for clarification from
Ms. Carangi as to whether GeneDx charged for analysis of parental and child samples, or
whether it only charged for the single report.

81. Ms. Carangi replied that day confirming, “[Y]ou’re only billed once.”

82. Throughout the day Ms. Hauser continued her investigation and received multiple

-12-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 14 of 29

confirmations that GeneDx only billed for the test report, and not the individual samples.

83. Ms. Hauser relayed this information to Ms. Lewis by forwarding the email chain
with Ms. Capps and Ms. Carangi. Ms. Lewis subsequently noted in an email to Ms. Hauser, Ms.
Ahmed, Relator, Ms. Howard, and several other LabCorp employees that “If Gene DX is only
billing us one time for this test that[sic] someone will need to go back and credit all of the
additional charges as well as fix how we bill for these going forward. Gene DX should not be
reaching out to the client as everything goes through LabCorp.”

84. Shortly thereafter, Ms. Howard requested additional time to complete her own
investigation, and in particular to confirm with GeneDx how it billed LabCorp for the tests. Ms.
Howard noted that “We have to have a clear picture of what we are dealing with before we can
respond [to Cpt. Alexander’s concerns].”

85. Ms. Lewis replied that Walter Reed “is obviously concerned given the high cost
of these particular tests.”

86. Ms. Lewis followed up by email the following afternoon of July 26, 2017 to
inquire whether Ms. Howard had contacted GeneDx.

87. Ms. Hauser replied by email that “From what I have discovered there has been an
error on our end. Referrals has been entering charges for each specimen #’[sic] when Gene DX
is only charging for one.” Ms. Hauser continued, “We are pulling a report dated through last
June to see what can be determined.”

88. | Ms. Lewis replied by email minutes later asking, “How far back are we going on
the invoices? I am not sure when they started ordering this test, but we need to make sure that we
make this right. Also, 1 am assuming this could be a sizeable credit so I will need to notify Jim
[Maruca, Vice President of Business Development] when we have a rough idea of what we are
looking at.”

89. Ms. Howard replied, “[W]e are pulling a data mart but need to pull another

-13-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 15 of 29

tomorrow.”

90. A data mart gives complete details on billing for a given test at LabCorp for a
certain period of time.

91. Based on Relator’s understanding of LabCorp’s data retention policy, Relator
believes that LabCorp regularly archives its billing data, limiting access to older bills for data
mart pulls such as the one Ms. Howard performed.

92. Later on the evening of July 26, 2017, Relator wrote to Ms. Lewis and Ms.
Ahmed that “Upon getting the ‘total’ credit due to Walter Reed, can we please hold tight. As this
is s[sic] delicate arena within the facility and the DOD arena.” She urged that “careful handling
[was] required.” Relator’s intent was to ensure that LabCorp determined the scope of the error
and reimbursed the government for the full amount of the overbilling.

93. Ms. Lewis replied the following morning, July 27, 2017, that she agreed.

94. Later that morning Ms. Howard sent another email stating, “I have a data pull
from June of last year but this is not the only test I am seeing & Referrals is contacting GeneDX
to provide a comprehensive list of tests that are billed in this manner so J can ensure I have all
the info.” Ms. Howard added that LabCorp’s “referrals staff said they were told that each [tested
family] member gets charged however they have no documentation of who that was nor when.”

95, Several days later, on August 2, 2017, Ms. Howard sent another email, writing,
“Attached is the data pulled for Walter Reed Gene DX Trio/XomeDX testing. In white is what
needs to be reimbursed to the client. They have been verified to be a part of family tests where
all members (each had a specimen #) were charged for the test when only one family member
should have.” Ms. Howard again stressed that the referrals department did not know it was
inappropriately billing when it charged for multiple samples.

96. Ms. Howard included an attachment showing specific tests that LabCorp had

inappropriately billed to Walter Reed. The inappropriately billed tests that report identified are

-14-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 16 of 29

reproduced below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Specimen Date of Amount
Number Service Charged Clinical Info Control Number
NLT485 D/S GENE DX TEST
XOMEDX (Mom)
608927187330 3/29/2016 | 5,025.00 | FX:809443456349 BO038866026
NLT533 SENT TO GENE DX
609627186810 | 4/5/2016 | 9,025.00 | TESTS..XOMEDX TC#561 BLOOD | B0039217190
NLT 648 DS:GENEDX XOME
611127186040 4/20/2016 | 9,025.00 | DX1FX#810287178950 B0040084251
| NLT 986 DS:GENEDX XOMEDX
615327186210 6/1/2016 | 5,025.00 | 1FX#810285636093 B0042296540
NLT 1041 DS:GENEDX XOMEDX
616027186440 6/8/2016 | 5,025.00 | FX#810285636244 BO0042685216
NLT 1164 DS:GENEDX XOMEDX
618127186150 6/29/2016 | 5,025.00 | FX#808888525077 B0043778307
NLT 1225 DS GENE DX FEDEX
619027186060 7/8/2016 | 5,025.00 | 8102 8563 7181 B0044215409
NLT 1227 DS GENE DX FEDEX
619327185010 7/8/2016 | 5,025.00 | 8102 8563 7332 BO0044270199
NLT 1491 DS:GENEDX XOMEDX
623027185870 8/17/2016 | 5,025.00 | FX#810287178548 B0046213218
NLT 1498 DS GENE DX FEDEX
623127186670 8/18/2016 | 5,025.00 | 8102 8717 8364 B0046299446
NLT 1499 DS GENE DX FEDEX
623127186710 8/18/2016 | 5,025.00 | 8102 8717 8364 B0046302362
NLT 1536 DS:GENEDX XOMEDX
623727186180 8/23/2016 | 5,025.00 | FX#810287178467 B0046568361
NLT 1537 DS:GENEDX
623727186190 8/23/2016 | 5,025.00 | XOMEXPLUS FX#810287178467 BO046568687
NLT 1766 DS:GENEDX XOMEDX :
627927186440 10/4/2016 | 5,025.00 | FX#810314435301 B0048714415
NLT 1765 DS:GENEDX XOMEDX
627927186450 10/4/2016 | 5,025.00 | FX#810314435301 B0048715053
NLT 1899 DS:GENEDX XOMEDX
630027187250 | 10/26/2016 | 5,025.00 | FX#810395992842 BO049788944
NLT 1978 DS:GENEDX XOMEDX
631327187570 11/8/2016 | 5,025.00 ; FX#810395993297 B0050446484
NLT 1977 DS:GENEDX XOMEDX
631327187580 11/8/2016 | 5,025.00 | FX#810395993297 B0050447153
NLT 1989 DS:GENEDX XOMEDX
631427187210 11/9/2016 | 5,025.00 | TRIO FX#81039559334 BO0S50507341

 

-15-
COMPLAINT

 
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 17 of 29

 

NLT 1990 DS:GENEDX XOMEDX

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

631427187220 | 11/9/2016 | 5,025.00 | FX#810395593334 BO050508022
TEST 561A - GENE DX FEDEX
634327186021 | 12/7/2016 | 5,025.50 | 8109 7661 9202 BO051862745
NLT 235 DS:GENEDX WHOLE
702327187040 | 1/19/2017 | 5,025.50 | GENOME SEQ FX#81174332328 | B0053897582
NLT 296 DS:GENEDX WHOLE
GENOME EXOME
702627189220 | 1/26/2017 | 5,025.50 | FX#811174332486 B0054125339
NLT 302 DS:GENEDX XOMEDX
702727186170 | 1/26/2017 | 5,025.50 | TRIO FX#811174332497 BO054152232
NLT 300 DS:GENEDX WHOLE
702727186180 | 1/26/2017 | 5,025.50 | EXOME SEQ FX#811174332497 | B0054152488
NLT 389 DS:GENEDX WHOLE
703227186260 | 1/31/2017 | 5,025.50 | EXOME SEQ FX#811174332615 | BO054366086
NLT 405 DS:GENEDX WHOLE
703227188130 2/1/2017 | 5,025.50 | EXOME SEQ FX#811174332615 | B0054411580
NLT 759 DS:GENEDX WHOLE
705827186780 | 2/27/2017 | 5,025.50 | EXOME SEQ FX#810314436433 | BO055658446
NLT 757 DS:GENEDX XOMEDX
705827186790 | 2/27/2017 | 5,025.50 | TRIO FX#810314436433 BO055658968
NLT 852 SEND TO GENE DX
706727186680 3/7/2017 | 9,025.50 | FORFEDEX #811302064273 B0056144341
NLT 846 DS:GENEDX XOMEDX
706727186700 3/7/2017 | 5,025.50 | FX#811302064273 BO056146140
921 DS:GENEDX XOMEDX
707627187140 | 3/16/2017 | 5,025.50 | Fx#811302064608 BO056634294
NLT 1082 DS:GENEDX
710027187580 | 4/10/2017 | 5,025.50 | FX#8113020265199 BO057749169
NLT 1081 DS:GENEDX
710027187590 | 4/10/2017 | 5,025.50 | FX#811302065199 BO0057749669
NLT 1140 DS:GENEDX XOMEDX
710927186810 | 4/18/2017 | 9,025.50 | FxXx#811174333379 BO058190486
NLT 1142 DS:GENEDX WHOLE
710927186820 | 4/18/2017 | 9,025.50 | EXOME FX#811174333379 BO058191466
NLT 1366 DS:GENEDX
714527187460 | 5/25/2017 | 5,025.50 | FX#811586912897 BO059988334
NLT 1368 DS:GENEDX WHOLE
714527187470 | 5/25/2017 | 5,025.50 | EXOME FX#811586912897 B0059988344

 

97. The attachment showed $210,959 in overcharges on 38 inappropriately billed

tests, including $113,525.50 for 21 tests billed between March 2016 and January 2017.

-16-
COMPLAINT

 
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 18 of 29

98. Based on her understanding of LabCorp’s data retention policies, Relator believes
that Ms. Howard was only able to easily pull data for Walter Reed dating back to March 2016,
though billing data dating back to the inception of the contract existed. That additional data,
however, would have required additional authorizations to review, which Ms. Howard did not
seek.

99. Later on August 2, 2017, Ms. Lewis emailed Ms. Ahmed and Relator, urging
them “Please do not do anything with this data until we have a chance to discuss. I will look at
the calendar for some time tomorrow when we can get on a call together to discuss strategy. How
we handle this is very important.”

100. Relator sent an email to Ms. Lewis late that night, noting her travel schedule the
following day, which limited her availability for a phone call.

101. Ms. Lewis and Relator could not find a mutually agreeable time on the morning
of August 3, 2017, to discuss the overbilling issues.

102. Ms. Lewis emailed Relator attempting to schedule a call for 11 am, but Relator
indicated she had a meeting at that time and would be traveling in the interim.

103. During the time that Relator had told Ms. Lewis she would be traveling, Ms.
Lewis sent a text message to Ms. Ahmed and Relator requesting a call.

104. Relator did not see the message because she was traveling, and LabCorp has strict
policies against reviewing text messages while driving. Moreover, Ms. Lewis did not normally
communicate through text message.

105. While Relator was traveling, and without confirming her availability, Ms. Lewis
created a calendar invite for a phone call with herself, Relator, and Ms. Ahmed for 11:00 a.m.
that morning.

106. Because Relator was traveling and did not receive the calendar alert, she did not

attend the call.

-17-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 19 of 29

107. When Relator arrived at her destination, she saw the text message and called Ms.
Lewis. Ms. Lewis scolded Relator for not including her travel time and meetings for the day on
her LabCorp calendar.

108. No one at LabCorp had ever raised this as a concern with Relator before.

109. Sometime between August 4 and August 7, 2017, Ms. Lewis called Ms. Ahmed
and Relator to review the billing data and discuss how to proceed.

110. Ms. Lewis asked whether Relator had reviewed the data.

111. Relator stated that she had.

112. Ms. Lewis asked who from Walter Reed needed to review LabCorp’s resolution
of the overbilling research and the proposed solution.

113. Relator told her that Lt. Jung and Cpt. Alexander would need to approve the
resolution.

114. Ms. Lewis questioned why Lt. Jung needed to be involved, given his imminent
transfer.

115. Relator perceived that Ms. Lewis wanted as few people as possible to attend the
meeting that would explain to Walter Reed how LabCorp intended to address the overbilling.

116. Relator informed Ms. Lewis that Lt. Jung was still on site and had worked closely
with LabCorp during his posting as Walter Reed’s laboratory director. Relator also reminded
Ms. Lewis that Lt. Jung had been the first to request that LabCorp review the overbilling of
Trio/XomeDX testing.

117. Ms. Lewis asked Relator to set up a meeting with Lt. Jung and Cpt. Alexander.

118. Ms. Lewis then asked Relator if she believed that Lt. Jung and Cpt. Alexander, on
behalf of Walter Reed, would accept a credit for all inappropriately billed tests dating back only
to January 1, 2017.

119. Relator replied that the overbilling likely affected every DOD military treatment

- 18 -
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 20 of 29

facility laboratory that ordered the test, dating back to at least September 2013.

120. Relator believed this because LabCorp had a worldwide contract to provide
ljaboratory-testing services for DOD. At the time, she believed that contract dated back to
September 2013.

121. Relator therefore asked Ms. Lewis why Walter Reed would accept a credit dating
back only to January 1, 2017, when the overbilling likely dated back to the inception of the
contract—and when LabCorp had already confirmed overbilling dating back to March 2016.

122. Instead of agreeing to provide Walter Reed with a refund dating back to the
inception of the contract and properly returning all identified overcharges, Ms. Lewis told
Relator that she would offer to credit overcharges only back to January 1, 2017, unless Lt. Jung
or Cpt. Alexander demanded that LabCorp provide credits for earlier charges.

123. Ms. Lewis stressed that she was concerned about how to explain even the smaller
credit for overbilling dating back to January 1, 2017 to Mr. Maruca and LabCorp’s executives,
particularly Ben Miller, then an Executive Vice President and now the Chief Operating Officer
for LabCorp.

124. Ms. Lewis pressed Relator to explain why Lt. Jung or Cpt. Alexander would not
accept a credit back to January 2017.

125. Relator replied that LabCorp was required under the DOD contract to understand
the terms and pricing of third-party providers like GeneDx and ensure appropriate billing to
DOD clients.

126. Relator stated that only providing a credit back to January 2017 would not be
consistent with LabCorp’s responsibilities under the contract.

127. Relator recommended that she, Ms. Lewis, and Ms. Ahmed discuss the
overbilling and credit issue with Mr. Maruca and Brad Collier, LabCorp’s Vice President of

Corporate and National DOD contracts, given the importance of the contract and Mr. Collier’s

-19-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 21 of 29

direct relationship with Col. Robert Nace, who handled the LabCorp contract at DOD.

128. Ms. Lewis did not agree that Mr. Collier did not need to be informed of the
situation.

129. Ms. Lewis then asked whether there was anything else she needed to be aware of
that might come up at a meeting with Lt. Jung and Cpt. Alexander.

130. Relator described a number of other issues she had repeatedly raised with Ms.
Lewis over the past several months—including in emails over the prior few weeks—that Ms.
Lewis and Defendant had failed to address. These included delayed lab test results, confusing or
inaccurate lab test results, and lost specimens. The Chief of Pathology, Dr. Eric Pryor, and the
Medical Director, Dr. Jeannie Muir, at Walter Reed had complained to Relator about these
issues, which potentially jeopardized patient safety by delaying accurate diagnoses and the
provision of appropriate treatment.

131. To Relator’s surprise, Ms. Lewis told her that she was not to attend the meeting
with Lt. Jung and Cpt. Alexander, and was to stay away from Walter Reed altogether. Ms.
Lewis further instructed Relator not to have any communication with anyone at Walter Reed or
the Department of Defense, including Lt. Jung and Cpt. Alexander.

132. Relator believed that Ms. Lewis’s actions were intended to silence Relator, who
had been adamant about LabCorp’s need to adequately address the serious billing and testing
issues she had been raising and to communicate openly and honestly with Walter Reed and the
DOD.

D. LabCorp terminated Relator shortly after she raised objections to providing

only a partial credit for tests that LabCorp knew it had overbilled to Walter
Reed.
133. On August 8, 2017, Ms. Lewis instructed Relator to come to the LabCorp facility

in Herndon, Virginia, for a 4:00 p.m. meeting with Mr. Maruca and Ms. Lewis.

-20 -
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 22 of 29

134. Ms. Lewis told Relator that she needed to be prepared to discuss the “high-level
issues” they had been facing. She further told Relator that this would allow Mr. Maruca to
understand the issues facing Relator’s clients.

135. Over the previous month, at Mr. Maruca’s request, Relator had been assembling a
summary of the issues her clients had been facing with supporting documentation—all of which
she had previously provided Ms. Lewis and/or Mr. Maruca. Relator was encouraged that she,
Ms. Lewis, and Mr. Maruca apparently were going to discuss the issues at last.

136. When Relator arrived at the meeting, she met with Mr. Maruca and Tara Hess
from LabCorp’s human resources department. Ms. Lewis attended the meeting by phone.

137. Ms. Lewis stated that Relator was being terminated for sending emails from her
LabCorp email address to her personal email. Ms. Lewis warned that there would be no
discussion on the matter and that the decision was final.

138. Ms. Lewis did not reference any policy Relator had violated, nor did she explain
why LabCorp had been monitoring Relator’s email use.

139. Relator had, in fact, forwarded emails to her personal account, and had done so
since the beginning of her employment in 2007. This was common for LabCorp staff who
worked remotely and was a widely known practice due to difficulties working through
Defendant’s remote system. Moreover, Defendant had paid for Relator’s home server and
internet service throughout the course of her employment and was fully aware that she used her
personal home office desktop computer to do work.

140. Until Relator pressed her concerns about overbilling and noncompliance with
Defendant’s contracts with the DOD, Defendant had never cited her email practices as
impermissible.

141. Relator was instructed to surrender her cellphone, laptop, and the keys to her

LabCorp vehicle, which she did.

-21-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 23 of 29

142. Mr. Maruca handed Relator a copy of her non-compete and instructed her to
adhere to it.

143. Relator asked whether Mr. Maruca would like to review the data she had been
working on to ensure clients’ needs were met going forward. Mr. Maruca said that he did not
have time to review the issues with her.

144. Relator requested a written receipt for the hardware she returned stating it was in
LabCorp’s and Mr. Maruca’s possession and in good condition. She also requested a receipt
documenting her vehicle’s condition and mileage. Mr. Maruca wrote the items down on a piece
of legal-sized paper, signed and dated it, and handed it to Relator.

145. Relator was sent home in a cab that was LabCorp had summoned and had waiting
for her outside.

146. Several weeks after her termination, Relator spoke with Cpt. Alexander to advise
her that she was no longer working for Defendant. Cpt. Alexander responded that she had
wondered why Relator had not attended the meeting with Ms. Ahmed and Ms. Lewis to discuss
the credit issues.

147. Cpt. Alexander informed Relator that LabCorp had given Walter Reed a credit
dating back to January 2017.

148. Apparently recognizing that Relator had faced resistance from LabCorp
management to her dogged efforts to investigate and address the billing and patient safety issues
at Walter Reed, Cpt. Alexander added that she believed Relator’s efforts to address the billing
and other issues at Walter Reed had played a big part in Relator no longer being with LabCorp.

E. LabCorp covered up the extent of the overpayments by the federal

government.

149. Based on the allegations above, Relator believes, and therefore alleges, that

LabCorp knew that it had overcharged Walter Reed for Trio/KomeDX testing since the inception

-22-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 24 of 29

of LabCorp’s worldwide DOD contract in June 2012.

150. Based on Ms. Lewis’s statements on the phone call that occurred between August
4 and August 7, 2017 and her call with Cpt. Alexander after her termination, both described
above, Relator believes and therefore alleges that LabCorp only offered a credit to Walter Reed
for overbilled Trio/XomeDX tests performed after January 1, 2017.

151. However, on August 2, 2017, LabCorp had identified at least 21 improperly billed
tests between March 29, 2016 and January 1, 2017.

152. LabCorp had overcharged Walter Reed $113,525.50 for those tests.

153. Based on Ms. Lewis’s statements on the phone call that occurred between August
4 and August 7, 2017 described above, and on her conversation with Cpt. Alexander after
Relator was terminated, Relator believes and therefore alleges that LabCorp only in fact provided
a credit to Walter Reed for Trio/KomeDX tests performed after January 1, 2017.

154. Relator knows that Ms. Howard only pulled records relating to Trio/XomeDX
testing for the limited amount of time from March 2016 through June 2017. Relator knows that
the GeneDx Trio/Xome test has been offered since at least sometime in 2012 and that LabCorp
began providing services to Walter Reed in or around June 2012. Relator therefore believes and
alleges that there are hundreds of additional instances of inappropriate billing of Trio/XomeDX
tests to Walter Reed by LabCorp that cost hundreds of thousands or millions of dollars.

155. Because LabCorp had a worldwide contract to provide reference testing services
to DOD facilities, and because no one Relator spoke to at LabCorp knew, before late July 2017,
that GeneDx only billed a single charge for Trio/XomeDX testing even when samples were taken
from a parent or both parents, Relator believes and therefore alleges that the same overbilling
that occurred at Walter Reed occurred at every military treatment facility under the same
contract.

156. Relator believes, based on her understanding of the DOD contract and the

-23 -
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 25 of 29

prevalence of Trio/XomeDX testing, that LabCorp inappropriately billed DOD facilities across
the world for thousands of tests worth millions of dollars under the contract referenced above.
Other Government contracts may likewise be affected by the same error and LabCorp’s
conscious decision not to fully investigate the extent of its error and thus to remain willfully
blind to additional overcharges.

157. Relator believes, based on LabCorp’s refusal to offer or provide a credit to Walter
Reed for charges for Trio/XomeDX testing it knew had been inappropriately billed between
March 2016 and January 1, 2017, that LabCorp has not investigated or offered any similar
credits to any other facility under the DOD contract or elsewhere in its billing under Government
contracts.

158. Upon information and belief, TRICARE and/or DOD paid for these tests, with the
Government ultimately bearing the financial cost of these tests that LabCorp should not have
billed.

159. Had the Government known at the time that LabCorp had inappropriately billed
these tests, it would not have paid for them, because they were not permissible under LabCorp’s
contract with the DOD.

160. Similarly, if the Government had later learned that LabCorp should not have
billed for the tests, it would have demanded a refund or a credit—exactly as Lt. Jung and Cpt.
Alexander did when they began to believe LabCorp had overcharged Walter Reed.

VII. CAUSES OF ACTION

COUNTI
False Claims Act
31 U.S.C. § 3729(a))(1)(G)

161. Relator realleges and incorporates by reference the allegations contained in all
paragraphs 1 — 160 above as if fully set forth herein.
162. This is a claim for treble damages and penalties under the False Claims Act, 31

U.S.C. §§ 3729, et seg., as amended.

-24-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 26 of 29

163. By virtue of the acts described above, Defendant knowingly concealed or
knowingly and improperly avoided or decreased an obligation to pay or transmit money or
property to the Government.

164. Unaware that Defendant was knowingly concealing and/or knowingly seeking to
avoid or decrease its obligation to repay the government, and unaware of any false statements or
records that Defendant’s agents made to help conceal the overpayment, the Government did not
collect from Defendant the sums that it would have collected but for Defendant’s unlawful
conduct.

165. By reason of Defendant’s knowing acts and unlawful omissions, the United States
has been damaged, and continues to be damaged, in a single damages amount to be determined at
trial and trebled.

166. Additionally, the United States is entitled to the maximum penalty for each

violation alleged herein.

COUNT II
False Claims Act (Retaliation)

31 U.S.C. § 3730(h)

167. Relator realleges and incorporates by reference the allegations contained in all
paragraphs 1 — 160 above as if fully set forth herein.

168. This is a claim by Relator for Defendant’s unlawful termination of her
employment, in violation of the FCA’s anti-retaliation provision, 31 U.S.C. § 3730(h).

169. Defendant terminated Relator because of lawful acts that Relator undertook to
report and stop what Relator reasonably believed were Defendant’s violations of the False
Claims Act, as well as lawful acts taken by Relator in furtherance of a possible action for
violation of the False Claims Act.

170. Relator’s lawful acts, which 31 U.S.C. § 3730(h) protects from retaliation, include

investigating, reporting, and objecting to Defendant’s violations of the FCA.

-25-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 27 of 29

171. Defendant terminated Relator’s employment on August 8, 2017, in retaliation for
Relator’s lawful acts described above in reporting, attempting to stop, and acting in furtherance
of other efforts to stop what Relator reasonably believed were actions by Defendant in violation
of the FCA, including Defendant’s overbilling of the government for tests and the unlawful
retention of moneys paid by the government for those tests over the course of Defendant’s
contract to provide services to Walter Reed.

172. Defendant’s termination of Relator violated 31 U.S.C. § 3730(h), which prohibits
retaliation by employers against employees who investigate or report false statements within the
meaning of 31 U.S.C. § 3729.

173. Asa direct and proximate result of the foregoing, Relator has lost the benefits and
privileges of employment, and has suffered additional economic and non-economic damages,
including severe emotional anguish and irreparable, continuing harm to her reputation and

career. Relator is entitled to all relief necessary to make her whole.

PRAYER

WHEREFORE, Relator Donna Hecker-Gross prays for judgment against Defendant as
follows:

174. That Defendant cease and desist from violating 31 U.S.C. §§ 3729, et seq.;

175. That this Court enter judgment against Defendant in an amount equal to three
times the amount of damages the United States has sustained because of Defendant’s actions,
plus the maximum civil penalty allowable under 31 U.S.C. § 3729, as adjusted by the Federal
Civil Penalties Inflation Adjustment Act of 1990, for each violation;

176. That Relator be awarded the maximum amount allowed pursuant to § 3730(d) of
the Federal False Claims Act;

177. That the Court enter judgment for Relator and against Defendant, pursuant to 31

- 26 -
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 28 of 29

U.S.C. § 3730(h), including an order reinstating Relator to her employment with the full
seniority and benefits she would have had, but for her retaliatory discharge, and awarding
Relator two times the amount of her back pay;

178. That the Court award Relator compensatory and special damages in an amount to
be proven at trial for the emotional pain and suffering, humiliation, damage to career and loss of
enjoyment of life, to the extent permitted by law;

179. That Relator be awarded all costs of this action, including attorneys’ fees and
expenses; and

180. That the United States and Relator recover such other and further relief as the
Court deems just and proper.

VITI. DEMAND FOR JURY TRIAL
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator Donna Hecker-Gross

hereby demands a trial by jury.

Dated: ly 8-/ ¥ Ko Ww Ot

 

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-27-
COMPLAINT
Case 8:18-cv-03459-PX Document1 Filed 11/08/18 Page 29 of 29

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-28-

 

COMPLAINT
